Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                           Page 1 of 22
                                            CONF Tahir Shareef                                     February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                     Page 34                                                         Page 36
 1   you're there?                                              1   he had no objection, so he said that's fine. I don't
 2       A. That is right.                                      2   know why.
 3       Q. Are you working 40-hour weeks, or would             3       Q. Who are the officers of Northbrook
 4   you say you're working more than that because you're       4   Industries, Inc.?
 5   living there?                                              5       A. Myself and Sabharwal.
 6       A. Working more than that. Yeah.                       6       Q. Anybody else?
 7       Q. So we're talking about, basically, the              7       A. No.
 8   last 20 years, 17 years you've been at the United Inn      8       Q. And what's your title as an officer?
 9   and Suites a lot.                                          9       A. The president.
10       A. Yes.                                               10       Q. Was it true in 2017 to 2019, that the only
11       Q. Would you say that anybody's been at the           11   officers of United Inn and Suites was you and
12   property more than you during that time period?           12   Mr. Sabharwal?
13       A. When you say "anybody," I -- I don't know          13       A. Yes.
14   what you talking about.                                   14       Q. Is the United Inn and Suites a chain?
15       Q. Well, any other person, any other person           15       A. No.
16   who works at the United Inn and Suites. Has anybody       16       Q. Is it affiliated with any other hotels?
17   been at the property for longer than you have?            17       A. I used to have another hotel called United
18       A. No.                                                18   Inn and Suites in Macon, Georgia.
19       Q. Would you say you're more knowledgeable            19       Q. When was that?
20   about the property than anybody else?                     20       A. Since 2012 through 2021.
21       A. Yes.                                               21       Q. From 2012 to 2021, you had a property
22       Q. Because you've spent more time there than          22   called the United Inn and Suites in Macon, Georgia?
23   anybody else has?                                         23       A. Yes.
24       A. Yes.                                               24       Q. And you were the owner of that hotel?
25       Q. You know better than anybody else does,            25       A. Yes.
                                                     Page 35                                                         Page 37
 1   then, I take it, the staff at the hotel from 2017 to       1       Q. With Mr. Sabharwal?
 2   2019?                                                      2       A. No.
 3       A. Yes.                                                3       Q. Sole owner?
 4       Q. The guests at the property during that              4       A. Yes.
 5   period?                                                    5       Q. And I assume you identified that property
 6       A. Yes.                                                6   through a broker again?
 7       Q. The police officers who came by the                 7       A. Yes.
 8   property during that period?                               8       Q. Was there a relationship between the
 9       A. Yes.                                                9   United Inn and Suites in Macon and the United Inn and
10       Q. How did you come to know Tahir -- I'm              10   Suites in Decatur?
11   sorry. How did you come to know Ashar Islam?              11       A. On -- on what relation? On what basis?
12       A. He's a family member.                              12       Q. Well, they had the same name.
13       Q. A family member of yours?                          13       A. Right.
14       A. Yes.                                               14       Q. So did they share employees?
15       Q. What is the family relationship?                   15       A. No.
16       A. He is my nephew.                                   16       Q. Did you work at both hotels?
17       Q. Nephew. At -- at some point, he becomes            17       A. Yes.
18   the registered agent for Northbrook Industries; is        18       Q. Did Mr. Shareef work at both hotels?
19   that right?                                               19       A. Who?
20       A. Yes.                                               20       Q. Did Mr. Islam work at both hotels?
21       Q. Did you ask him to do that because he was          21       A. No.
22   your nephew, or why did you ask him to do that?           22       Q. Does your wife work at the United Inn and
23       A. I don't know, but on one time -- I don't           23   Suites?
24   know how that happened, but of course we ask him          24       A. Yes.
25   that, you know, we need his name for the agent. And       25       Q. So when she travels with you from

                                                                                                     10 (Pages 34 - 37)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                           Page 2 of 22
                                            CONF Tahir Shareef                                     February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                      Page 46                                                        Page 48
 1        Q. -- you owned it?                                    1   those.
 2        A. You can say manager, too.                           2       Q. You do have those?
 3        Q. And you also received training on hotel             3       A. Yeah.
 4   operations through AAHOA?                                   4       Q. Where are those? Are they at your house
 5        A. Yes.                                                5   or are they at the hotel or...
 6        Q. When did you receive the training on hotel          6       A. No, they are at the -- at the business.
 7   operations from AAHOA?                                      7   But we kind of, you know, take whatever the bullets
 8        A. That is on and off. Whenever they offer a           8   point and have our own, kind of, guidelines.
 9   training and it's the time permitted on the --              9       Q. Because those have not been provided in
10   sometime the training is for a few months, sometimes       10   discovery, so I'm just trying to understand if you
11   it's few weeks, but on and off, they offer a training      11   know why that would be.
12   session. And I took the advantage.                         12       A. Because they are bunch of handouts, and we
13        Q. Was that in person or online?                      13   had our -- well, like our own, kind of, guidelines.
14        A. At that time, it was on -- not online. It          14   So we are using that.
15   was all in person.                                         15       Q. Other than you wife, Ashar Islam, and Saad
16        Q. So when is the last time that you                  16   Iqbal, are there any other family members of you,
17   participated in a training on running a hotel?             17   Tahir Shareef, whoever worked at the United Inn and
18        A. I can say maybe 2002.                              18   Suites in Decatur?
19        Q. So, since 2002, you do not believe you             19       A. No.
20   have participated in any trainings on running hotels?      20       Q. It's only those three?
21        A. The training, I -- I participate of                21       A. Right.
22   meeting with the DeKalb County. And they have              22       Q. And let's take 2017 as an example,
23   presented, you know, some of the rules and                 23   Mr. Shareef. When you were at the property in 2017,
24   regulation, you know, and the little bit talk about        24   who -- how many people would be working during any
25   staff training and the safety procedure of the hotels      25   given shift?
                                                      Page 47                                                        Page 49
 1   in the DeKalb County. And that is meetings for half         1       A. Each shift has one person at the front
 2   a day. And this only couple of times.                       2   desk, and then bunch of housekeepers, and the
 3       Q. Who in DeKalb County provided those                  3   maintenance person, and the cleaning staff, the
 4   trainings?                                                  4   ground cleaning staff.
 5       A. The DeKalb County. I believe that's                  5       Q. That sounds like a lot of people working
 6   DeKalb County some -- I think they call it tourism          6   during a shift.
 7   department.                                                 7       A. Yes.
 8       Q. Are you saying that you think you attended           8       Q. And so how many people is that?
 9   more than one half-day training with the DeKalb             9       A. Any given shift, we have five
10   County Tourism Department?                                 10   housekeepers, one front desk person, and one cleaning
11       A. Yes.                                                11   staff taking care of the yard work.
12       Q. And would that have been after 2002?                12       Q. So at any given point in time, there would
13       A. Yeah, in 2000 -- maybe '13, '14, something          13   be seven people working during a shift?
14   like that.                                                 14       A. In the daytime, yes.
15       Q. Do you recall who led those trainings?              15       Q. In the daytime shift?
16       A. No.                                                 16       A. Yes.
17       Q. Have you ever participated in any                   17       Q. What about during the nighttime shift?
18   trainings led by the DeKalb County Police Department?      18       A. Nighttime, there is only one person who
19       A. There was a police department there at the          19   work at the front desk. And the -- the police
20   training. They have police chief and they have bunch       20   officer come late at night.
21   of other police officer there. And they talk about         21       Q. So, the nighttime shift would be one hotel
22   it.                                                        22   staff member at the front desk.
23       Q. Do you have any documents from any of the           23       A. Right.
24   trainings that you attended?                               24       Q. And then for a certain portion of the
25       A. They -- they give you handout, so I have            25   night, a police officer; is that correct?

                                                                                                     13 (Pages 46 - 49)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                           Page 3 of 22
                                            CONF Tahir Shareef                                     February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                      Page 50                                                        Page 52
 1       A. Yes.                                                 1   prostitution there.
 2       Q. Anybody else working at the hotel?                   2       Q. What do you consider prostitution?
 3       A. No.                                                  3           MR. STORY: Object to the form. You
 4       Q. And we've already established that during            4       can answer.
 5   the nighttime, the hotel lobby's shut down, so the          5           THE WITNESS: I -- I -- I don't know
 6   person working would be working behind the window?          6       if prostitution, a common word, I guess.
 7       A. That's right.                                        7       Q. (By Mr. Bouchard) What does it mean to
 8       Q. When your wife and your nephews have                 8   you?
 9   worked at the United Inn and Suites, I assume that          9       A. Prostitution, they take money for the sex.
10   you're the one supervising them; is that right?            10       Q. Are you familiar with the term sex
11       A. Yes.                                                11   trafficking?
12       Q. There's not somebody else who supervises            12       A. I -- I read through the -- some papers
13   them because they're you're family members?                13   says sex trafficking.
14       A. Ashar is there to supervise also.                   14       Q. What do you understand that term to mean?
15       Q. But they're his family members, too,                15       A. Meaning the prostitution, you know, same
16   right?                                                     16   thing.
17       A. Yeah.                                               17       Q. Do you think there's a difference between
18       Q. When -- looking at 2017 to 2019, and                18   prostitution and sex trafficking?
19   focusing on that time period, Mr. Shareef, during          19       A. I don't --
20   that time window, did you have responsibility for          20           MR. STORY: Object to the form. You
21   training staff at the United Inn and Suites?               21       can answer.
22       A. Yes.                                                22           THE WITNESS: -- think so.
23       Q. Did Mr. Islam have responsibility for               23       Q. (By Mr. Bouchard) When did you first heard
24   that, too?                                                 24   -- hear the term "sex trafficking"?
25       A. Yes.                                                25       A. You know, see news, here and there, you
                                                      Page 51                                                        Page 53
 1        Q. And you, earlier, outlined your                     1   know, about the sex trafficking.
 2   responsibilities at the hotel generally. And you            2       Q. So you have heard the term prior to this
 3   said they included monitoring the property,                 3   lawsuit, I take it?
 4   supervising staff, and you listed some other items.         4       A. Yeah, yeah. It shows -- like I said,
 5   Would you say that Mr. Islam's responsibilities were        5   there was a -- the meetings with the DeKalb County,
 6   identical to yours when he was working?                     6   so this thing come up, you know, sex trafficking and
 7        A. Yes.                                                7   prostitution.
 8        Q. What's your understanding of why we're              8       Q. Were those topics discussed at the DeKalb
 9   here today, Mr. Shareef?                                    9   County trainings that you attended?
10        A. To answer your questions, I guess.                 10       A. I believe so, yes.
11        Q. Well, do you have an understanding of why          11       Q. Do you remember what was said about those
12   I noticed your deposition for today and what the           12   topics?
13   lawsuits in these cases are about?                         13       A. Yes. The people, you know, use the hotel
14        A. Yes. It's -- there are three girls,                14   to rent a room and do the prostitution there.
15   they -- you know, they sue us that they are living         15       Q. So by 2017, did you understand that hotels
16   sometime at the property.                                  16   were places used for prostitution and sex
17        Q. Do you understand why they've sued?                17   trafficking?
18        A. I don't know how to answer that. I mean,           18       A. Yes. I can say yes.
19   I -- I -- I don't know how to answer that.                 19       Q. Did the trainings through DeKalb County
20        Q. Well, do you have an understanding of what         20   provide you with signs and red flags and things to
21   they're alleging happened at the property?                 21   look for that would indicate victims of sex
22        A. Yes, I understand that.                            22   trafficking on your hotel property?
23        Q. What is it that you understand they've             23       A. Yes, that was a part of that, you know,
24   alleged happened to them that property?                    24   conversation.
25        A. Says they are minor and they are doing             25       Q. What did you understand those signs and

                                                                                                     14 (Pages 50 - 53)
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Case 1:20-cv-05233-SEG                Document 115-20 Filed 01/18/24                          Page 4 of 22
                                           CONF Tahir Shareef                                    February 22, 2023
                                     G.W. v. Northbrook Industries, Inc.
                                                    Page 54                                                        Page 56
 1   red flags and indicators of sex trafficking to be?        1   the first page, it says, Who we are. The Blue
 2       A. For me, I believe it's the same as a, you          2   Campaign is the unified voice for the U.S. Department
 3   know, prostitution. Sex trafficking is the same.          3   of Homeland Security's efforts to combat human
 4       Q. And I heard you say that earlier. I'm              4   trafficking. Working with law enforcement,
 5   asking a slightly different question.                     5   government, and nongovernmental and private
 6       A. Uh-huh.                                            6   organizations, the Blue Campaign strives to protect
 7       Q. I think you said that at the DeKalb County         7   the basic right of freedom and bring those who
 8   trainings, one of the things they discussed in the        8   exploit human lives to justice. Do you see that?
 9   trainings was things that you could look for as a         9       A. Uh-huh.
10   hotel owner and observe with your -- with your           10       Q. Are you familiar with the Blue Campaign?
11   eyes --                                                  11       A. Not on this one, no.
12       A. Right.                                            12       Q. If you take a look at the second page of
13       Q. -- to make an assessment as to whether or         13   Plaintiff's Exhibit 2, do you see that there are
14   not somebody may be a victim of sex trafficking. And     14   three bullet points in the top half of the page?
15   I thought you said yes, that that was an aspect of       15       A. Uh-huh.
16   the training.                                            16       Q. One also says sex trafficking --
17       A. Uh-huh.                                           17       A. Uh-huh.
18       Q. Is that correct?                                  18       Q. -- do you see that?
19       A. Yeah.                                             19       A. Yes.
20       Q. So what did they tell you about what you          20       Q. And I want to read to you what it says
21   could look for with your eyes that would be an           21   under sex trafficking. It says, Victims of sex
22   indication that somebody is a victim of sex              22   trafficking are manipulated or forced to engage in
23   trafficking?                                             23   sex acts for someone else's commercial gain. Sex
24       A. Yeah, it was told that, you know, somebody        24   trafficking is not prostitution.
25   coming and complain to you, you go and, you know,        25            Do you see that?
                                                    Page 55                                                        Page 57
 1   call the police, DeKalb County police, and just      1            A. Yes.
 2   direct to them that this person is complaining. Or   2            Q. Do you agree with that?
 3   if you observe that there's a -- in any particular   3            A. Yes.
 4   room, there are people, you know, going in and out 4              Q. You're not disputing what the Department
 5   more than they're supposed to and you check it, and 5         of Homeland Security says in this Blues campaign --
 6   then, you know, if it's necessary, then call the     6            A. No.
 7   police.                                              7            Q. -- statement, right?
 8       Q. Anything else that you recall about the       8            A. I agree with that.
 9   trainings?                                           9            Q. And do you see in the next section here it
10       A. That's kind of it.                           10        says, Anyone under the age of 18 engaging in
11       Q. I'm showing you what's been marked as        11        commercial sex is considered to be a victim of human
12   Plaintiff's Exhibit 2, which is Bates-stamped       12        trafficking.
13   Plaintiff 24763 to 24768.                           13                 Do you see that?
14           (Exhibit No. 2 was marked for               14            A. Yes.
15       identification.)                                15            Q. And then you see it says in bold, No
16       Q. (By Mr. Bouchard) Do you see what I've 16              exceptions?
17   just handed you, Mr. Shareef?                       17            A. Yes.
18       A. Yes.                                         18            Q. Do you see that?
19       Q. And do you see the first page at the top     19            A. Uh-huh.
20   also says, Blue Campaign?                           20            Q. Do you agree with that?
21       A. Uh-huh.                                      21            A. Yes.
22       Q. Do you see that in the middle of the first   22            Q. You're not saying that you have a
23   page, it says Hospitality Toolkit?                  23        different view on sex trafficking than what's stated
24       A. Right.                                       24        in this form right here?
25       Q. And then do you see on the bottom left of 25               A. Huh-uh.

                                                                                                   15 (Pages 54 - 57)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                          Page 5 of 22
                                            CONF Tahir Shareef                                    February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                     Page 58                                                       Page 60
 1       Q. Is that correct?                                    1   know, that the -- when I see your report. But, of
 2       A. Yes.                                                2   course, we have this area that's a pretty high crime
 3       Q. So do you agree that anyone under the age           3   area.
 4   of 18 engaging in commercial sex is a victim of human      4       Q. And I'm not -- I appreciate the answer.
 5   trafficking?                                               5   I'm not asking generally about Memorial Drive or
 6       A. Yeah, I agree.                                      6   DeKalb County as a whole, or even metro Atlanta.
 7       Q. Do you agree that sex trafficking is not            7       A. Uh-huh.
 8   prostitution?                                              8       Q. I'm asking specifically about the United
 9       A. Yeah, I agree it says.                              9   Inn and Suites at 4649 Memorial Drive.
10       Q. Do you understand that the plaintiffs in           10       A. Uh-huh.
11   each of these cases, J.G, A.G., and G.W., were under      11       Q. Did that hotel, in your opinion, from 2017
12   the age of 18 at the time that they were at the           12   to 2019, have a high level of crime?
13   United Inn and Suites?                                    13           MR. STORY: Object to the form. You
14       A. I understand that.                                 14       can answer.
15       Q. And do you understand that each of those           15           THE WITNESS: I have -- you know, I
16   three young women have alleged that they were engaged     16       have found out, you know, after that, you
17   in commercial sex activity at the hotel?                  17       know, when I see those reports. Because I
18       A. That's what they, yeah, alleging, yes.             18       can say that, you know, we -- you know,
19       Q. Are you saying that's not true?                    19       when we need the police officer for any
20       A. No, but I don't know. I find out, you              20       type of help, so I believe we call almost
21   know, when see this lawsuit. But I don't know at          21       two calls a week, maybe three calls a week.
22   that time, no.                                            22       But the list, what I see there, this is --
23       Q. I assume you would defer to the                    23       happened after, you know, the something
24   conclusions of law enforcement and a judge --             24       happened. I did not know most of these
25       A. Yes.                                               25       incidents.
                                                     Page 59                                                       Page 61
 1        Q. -- as to whether or not they were sex              1       Q. (By Mr. Bouchard) When you say "the list,"
 2   trafficked?                                                2   what list are you referring to?
 3            MR. STORY: Object to the form. You                3       A. I see a list about the, you know, the --
 4        can answer.                                           4   something happened in -- back in June 2018, something
 5            THE WITNESS: I -- I -- I don't know               5   happened in July '19. So the cases, they -- the date
 6        that time about this case. These people               6   of some incident happened.
 7        never come to me, you know, so I don't have           7       Q. Are you talking about the complaints --
 8        any knowledge.                                        8       A. The complaint.
 9        Q. (By Mr. Bouchard) You don't know one way           9       Q. -- of these lawsuits?
10   or another if they were sex trafficked at the hotel.      10       A. Not the complaints of these lawsuits.
11   Is that what you're saying?                               11       Q. You're talking about a different document?
12        A. Yes.                                              12       A. Not the different document. I see a list
13        Q. Mr. Shareef, the -- the time period that          13   of -- bunch of, you know, reports.
14   we're focusing on in today's deposition is 2017 to        14       Q. The police reports?
15   2019. I may ask you questions about other time            15       A. It says -- that was -- is a list. I don't
16   periods, but I'd like to really focus in on those         16   know. I see that one.
17   years.                                                    17           MR. STORY: He's referring to
18        A. Okay.                                             18       Requests for Admissions.
19        Q. During that time period, that is 2017 to          19           MR. BOUCHARD: Oh, okay.
20   2019 --                                                   20           MR. STORY: That you sent.
21        A. Uh-huh.                                           21           MR. BOUCHARD: Okay.
22        Q. -- would you say that it was true or false        22           MR. STORY: -- and the list of the
23   that the United Inn and Suites had a high level of        23       prior crimes that --
24   crime?                                                    24           MR. BOUCHARD: Understood.
25        A. I -- I can say that I find -- find it, you        25           MR. STORY: -- have been --

                                                                                                    16 (Pages 58 - 61)
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Case 1:20-cv-05233-SEG                  Document 115-20 Filed 01/18/24                           Page 6 of 22
                                             CONF Tahir Shareef                                     February 22, 2023
                                       G.W. v. Northbrook Industries, Inc.
                                                       Page 62                                                       Page 64
 1            MR. BOUCHARD: Okay.                                 1   member, or based on something that you yourself
 2            MR. STORY: -- admitted. That's                      2   observed.
 3        when -- he's referring to the list --                   3           Did you believe that from 2017 to 2019,
 4            THE WITNESS: Yeah, that's -- that's                 4   that activities like prostitution were common at the
 5        the one. Yeah.                                          5   United Inn and Suites?
 6            MR. BOUCHARD: Okay.                                 6           MR. STORY: And can I just get a
 7            MR. STORY: Correct me if I'm wrong,                 7       clarification of when are we talking about
 8        but that is --                                          8       his knowledge. His knowledge right now or
 9            MR BOUCHARD: Thanks, Will. Yeah.                    9       his knowledge in 2019?
10            MR. STORY: -- what he -- sorry, I'm                10       Q. (By Mr. Bouchard) Well, you can answer
11        not trying to --                                       11   however you see fit.
12            MR. BOUCHARD: No, no.                              12       A. I can say I'm not aware of it.
13        Q. (By Mr. Bouchard) So discovery request              13       Q. You're not aware of it?
14   that we sent --                                             14       A. Yeah.
15        A. Right.                                              15       Q. So your testimony is, I was not aware of
16        Q. -- in this case or these cases, that's the          16   there being any prostitution at the United Inn and
17   list you're talking about?                                  17   Suites from 2017 to 2019?
18        A. Yes, that is.                                       18           MS. WARD: Objection --
19        Q. Okay.                                               19           THE WITNESS: At that time.
20        A. That's --                                           20       Q. (By Mr. Bouchard) At that time?
21        Q. Got it. From 2017 to 2019, is it your               21       A. Yeah.
22   opinion that activities like prostitution were common       22       Q. That's your testimony?
23   at the United Inn and Suites?                               23       A. Yeah.
24            MR. STORY: Object to the form. You                 24       Q. Under oath?
25        can answer.                                            25       A. Yeah.
                                                       Page 63                                                       Page 65
 1           THE WITNESS: After looking at that                   1        Q. You had no knowledge of any prostitution
 2        report, I can say yes. I don't know.                    2   at the hotel?
 3        Q. (By Mr. Bouchard) Well, you're saying                3        A. No.
 4   after looking at that report, but you've told me,            4        Q. And would your wife's testimony, do you
 5   Mr. Shareef, that in 2017 and 2019, you were spending        5   believe would it be the same?
 6   15 to 25 days at the hotel.                                  6        A. Yes.
 7        A. Right.                                               7        Q. Do you believe there would be staff
 8        Q. Every month?                                         8   members at the hotel who would testify differently?
 9        A. Yes.                                                 9        A. I don't know, but -- I don't know how
10        Q. And that you were working more than                 10   they...
11   40 hours a week because you were living at the hotel?       11            (Exhibit No. 3 was marked for
12        A. Yes.                                                12        identification.)
13        Q. And your wife, oftentimes, was with you             13        Q. (By Mr. Bouchard) Showing you what's been
14   also working at the hotel?                                  14   marked as Plaintiff's Exhibit 3. You see that this
15        A. Yes.                                                15   is a PowerPoint prepresentation from Luz Borrero, who
16        Q. And you had multiple family members                 16   I can represent to you, Mr. Shareef, was the deputy
17   working at the hotel, right?                                17   operating officer for development for DeKalb County.
18        A. Yes.                                                18   You see that on the first page of Plaintiff's
19        Q. And you talked to staff who you supervised          19   Exhibit 3?
20   about the operations at the property, right?                20        A. Yes.
21        A. Yes.                                                21        Q. Do you know Ms. Borrero?
22        Q. So I'm not asking you to take my list for           22        A. No.
23   it. I'm asking for your observations during that            23        Q. She's now involved with running MARTA for
24   time, either based on conversations you had with your       24   the City of Atlanta, so she's gotten some promotions
25   wife or Saad Iqbal or Ashar Islam, or any other staff       25   along the way. But in 2015, she was working in

                                                                                                      17 (Pages 62 - 65)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                          Page 7 of 22
                                            CONF Tahir Shareef                                    February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                     Page 70                                                       Page 72
 1       Q. And it says, Some of these properties have 1            company that you hired?
 2   become a convenient haven for criminal activities. 2               A. No.
 3   Do you see that?                                    3              Q. You just paid these gentlemen, correct --
 4       A. Yes.                                         4              A. Yes. Yes.
 5       Q. Do you believe that the United Inn and       5              Q. Did you just pay them cash?
 6   Suites became a convenient haven for criminal       6              A. I pay them check. Yeah, check.
 7   activities?                                         7              Q. Did you have a written contract with them?
 8       A. I -- I don't know. I -- I don't believe      8              A. No.
 9   so.                                                 9                  MR. STORY: And David, I don't want
10       Q. Did you ever ask the DeKalb County Police 10                to --
11   Department what their view of the hotel was?       11                  MR. BOUCHARD: Yes.
12       A. I ask my police officer when -- all the     12                  MR. STORY: -- interrupt at a bad
13   time, you know.                                    13              time, we've been going a little over an
14       Q. Your police officer? What do you mean by 14                 hour. If we can take a five minute break
15   that?                                              15              -- we don't have to do it now, but once you
16       A. Meaning the -- the two police officer,      16              get to the --
17   they are working for me for the longer period of   17                  MR. BOUCHARD: Yeah, sounds good.
18   time.                                              18              Q. (By Mr. Bouchard) Let's look at slide 11
19       Q. What are their names?                       19          on Plaintiff's Exhibit 3, Mr. Shareef. It calls out
20       A. One is Officer McClelland, and the other 20             the United Inn and Suites here. And in the bottom
21   one is officer Webber.                             21          right-hand corner, it talks about code violation
22       Q. When did they work for you?                 22          notes. Do you see that?
23       A. They work every day. Every night.           23              A. You said bottom which corner?
24       Q. Yeah, but during what time period?          24              Q. Bottom right-hand corner.
25       A. They are -- they are there at nighttime,    25              A. Oh, right. Yeah. Okay.
                                                     Page 71                                                       Page 73
 1   you know.                                                  1        Q. And it says, Interior and exterior
 2       Q. Well, I'm asking during what years.                 2   structure problems; is that right?
 3       A. Oh, what year. Oh, what year. They are              3        A. Yes.
 4   working since -- I always have police officer, but         4        Q. And it says, Roach, rat infestation?
 5   these two, they are here longer days. I think they         5        A. Yes.
 6   are here since 2016.                                       6        Q. Did the hotel have a roach/rat
 7       Q. So, you would ask Officer McClelland and            7   infestation?
 8   Officer Webber about their perspectives on the hotel       8        A. I know I have roach, but I don't know
 9   property?                                                  9   where the rat come from. But I have roaches problem.
10       A. Right. Right.                                      10        Q. During the time that we're focused on,
11       Q. Were they off-duty DeKalb County Police            11   which is 2017 to 2019, is it your opinion that the
12   Department officers?                                      12   hotel, that is the United Inn and Suites, regularly
13       A. They are off duty, yeah, I think so. But           13   violated DeKalb County codes?
14   they usually come in their uniform. I don't know how      14        A. Yes.
15   to consider off duty, but --                              15        Q. Like health codes?
16       Q. Did they work for the DeKalb County Police         16        A. Yeah.
17   Department?                                               17        Q. All right. Let's --
18       A. Yes.                                               18        A. If I can say one thing here.
19       Q. Did you have a contract with these                 19        Q. Sure.
20   gentleman or how -- how did you find them?                20        A. They have -- they have one inspection on
21       A. I just hire them. They come and work for           21   that period. And it's like a -- it's not regularly,
22   me.                                                       22   it's like once-a-year inspection. And that time,
23       Q. You paid them directly?                            23   they wrote a bunch of tickets.
24       A. I paid them directly.                              24        Q. How often would the county come out to
25       Q. There was not a company, a security                25   inspect for code violations?

                                                                                                    19 (Pages 70 - 73)
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Case 1:20-cv-05233-SEG              Document 115-20 Filed 01/18/24                        Page 8 of 22
                                         CONF Tahir Shareef                                  February 22, 2023
                                   G.W. v. Northbrook Industries, Inc.
                                                 Page 78                                                      Page 80
 1   violations. They should not even write it.             1       identification.)
 2       Q. So how many do you think were legitimate        2       Q. (By Mr. Bouchard) This is a -- Plaintiff's
 3   violations?                                            3   Exhibit 5 is an AJC article, an Atlanta Journal
 4       A. Maybe 10, 15.                                   4   Constitutional article, entitled DeKalb News,
 5       Q. 10 -- 10 or 15 out of 447?                      5   Extended Stay Hotel Inspections lead to 2,397
 6       A. Yeah.                                           6   citations.
 7       Q. But you paid $60,345 anyway?                    7           Do you see that?
 8       A. Yes.                                            8       A. Yes.
 9       Q. Did you object to the code violation            9       Q. And there's a portion of this article that
10   assessments, or did you agree that you were           10   talks about the United Inn and Suites. If you go to
11   responsible?                                          11   page 2 of the article towards the bottom, the second
12       A. I objected.                                    12   --
13       Q. But you decided to pay the full fine           13       A. Page number?
14   violation anyway?                                     14       Q. Page 2?
15       A. Yes.                                           15       A. 2, okay.
16       Q. Do you have an explanation for why the         16       Q. The second to last paragraph towards the
17   code enforcement at DeKalb County would have been     17   bottom of the page starts with "The worst offender."
18   citing your hotel improperly?                         18       A. Uh-huh.
19           MR. STORY: Objection. You can                 19       Q. Was United Inn and Suites in Decatur,
20       answer.                                           20   which paid $60,345 in fines after receiving 447
21           THE WITNESS: I don't have what they           21   citations last year. It was among four hotels along
22       have in mind.                                     22   Memorial Drive that made the list.
23       Q. (By Mr. Bouchard) Are you saying that you      23           Do you see that?
24   think the DeKalb County Code Enforcement team was     24       A. Yes.
25   improperly citing your hotel for code violations?     25       Q. Are you aware of whether you had guests
                                                 Page 79                                                      Page 81
 1       A. Yes, sir.                                   1       complain to DeKalb County about the conditions of the
 2       Q. Who do you think was responsible for        2       hotel?
 3   improperly citing your hotel?                      3           A. Had guest complain to DeKalb County. I --
 4       A. Whatever they did that year and next year, 4        I know the -- you know, like a -- I can say, the
 5   that's totally unfair. Totally unfair.             5       prior year, 20, you know, '16 or '14, or '15, maybe
 6       Q. Do you know the names of the people?        6       the inspector come once or twice a year, those extra
 7       A. I have the names, but nothing I can do.     7       when guest complain, to the DeKalb County. And they
 8       Q. Well, what are the names?                   8       came and checked the room for some, you know -- or
 9       A. I have bunch of name there.                 9       some roaches violation or maybe leaky faucet.
10       Q. Where?                                     10           Q. Have you ever been trained on the DeKalb
11       A. At my office. They left their business     11       County code?
12   card and stuff. And bunch of them are fired.      12           A. Trained on DeKalb County codes?
13   They're not -- no longer working at the code      13           Q. Yeah.
14   enforcement.                                      14           A. No.
15       Q. How do you know that they were fired?      15           Q. I mean, are you saying that you are an
16       A. Because I find out they're not coming      16       expert in the DeKalb County codes that the
17   anymore.                                          17       enforcement team was assessing compliance with --
18       Q. You recognize that because somebody's not 18            A. Well, I'm not expert, but I -- I totally
19   coming anymore doesn't necessarily mean they were 19       disagree with them.
20   fired.                                            20           Q. I want to look back at Plaintiff's
21       A. Well, I -- I did kind of find out they're  21       Exhibit 3, which is this PowerPoint presentation we
22   not there, but I have no proof.                   22       looked at from Luz Borrero with the Office of
23       Q. I'm showing you what's been marked as      23       Development in DeKalb County. And slide seven, which
24   Exhibit 5.                                        24       we looked at in Plaintiff's Exhibit 3 -- you with me?
25            (Exhibit No. 5 was marked for            25           A. Yes.

                                                                                               21 (Pages 78 - 81)
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Case 1:20-cv-05233-SEG                Document 115-20 Filed 01/18/24                        Page 9 of 22
                                           CONF Tahir Shareef                                  February 22, 2023
                                     G.W. v. Northbrook Industries, Inc.
                                                    Page 94                                                    Page 96
 1   And that's the time we bring some calm to the -- to 1         at the front desk.
 2   the area.                                             2            Q. No.
 3       Q. Why not have a security guard for the          3            A. Okay.
 4   other 20 hours a day?                                 4            Q. I think we're -- so, in a 24-hour day,
 5       A. Because like I said, I am there or someone 5           there's a day shift and there's a night shift --
 6   there to observe. And if we -- you know, if we need 6              A. Yes.
 7   help, we call the DeKalb County police.               7            Q. -- right?
 8       Q. But you told me that you typically worked 8                 A. Yes.
 9   the day shift, which is what hours, sir?              9            Q. Right. And the day shift always has more
10       A. From -- let's say from 6 a.m. to 2 p.m.       10       than one person?
11   Sometimes it goes to late night.                     11            A. Yes.
12       Q. So, from 9 p.m. until 6 a.m. is the night     12            Q. Right. The night shift may only have one
13   shift, I thought is sort of the way you described to 13       person if the security guard's gone home.
14   me earlier.                                          14            A. Right.
15       A. Yeah.                                         15            Q. Is that correct?
16       Q. Is that true?                                 16            A. Yes.
17       A. Uh-huh.                                       17            Q. And so from 9 p.m. until 10 p.m., the
18       Q. Is that right?                                18       security guard is not there; is that correct?
19       A. Right.                                        19            A. 10 p.m. to, like, a 9 a.m., yes, that's
20       Q. And it's from 9 p.m. to 6 a.m., you told      20       right, security guard is not there.
21   me, that there's generally one person working on the 21            Q. 9 to 10 p.m., the security guard is not
22   property other than the security guard.              22       there --
23       A. Right.                                        23            A. No, no, no.
24       Q. And that one person working is behind the 24                Q. From 9 p.m. --
25   window because the lobby's closed?                   25            A. 9 p.m.
                                                    Page 95                                                    Page 97
 1        A. Right.                                            1       Q. -- to 10 p.m., the security guard is --
 2        Q. So when the security guard goes home at           2       A. Yeah.
 3   2 a.m. --                                                 3       Q. -- not at --
 4        A. Uh-huh.                                           4       A. Yeah.
 5        Q. -- there is one human being working at the        5       Q. -- the hotel?
 6   property and they're behind a window --                   6       A. Yeah.
 7        A. Right.                                            7       Q. And from 2 a.m. to 6 a.m., the security
 8        Q. -- is that right? True?                           8   guard is not at the hotel, right?
 9        A. Yes.                                              9       A. That's right.
10        Q. They're not walking around the property,         10       Q. We've been talking about staffing and
11   right?                                                   11   whether there's one person at the hotel. Was all of
12        A. No, they walk around the property, you           12   that true from 2017 to 2019?
13   know, on a needed basis. They have the camera system     13       A. Yes.
14   there, we have bunch of cameras, and they can watch      14       Q. So what we've been discussing about when
15   the cameras. And they can see something, somebody        15   the security guard worked and when there was one
16   standing outside, out of -- they look someone who is,    16   person at the front desk, that was true from 2017 to
17   you know, they think is not a guest, they, you know,     17   2019?
18   tell them to, you know, leave the property.              18       A. Yes.
19        Q. So, how many hours a day is there one            19            MR. STORY: And David, I just want
20   person working at the United Inn and Suites?             20       to provide a point of clarification here.
21        A. Are you asking a night shift person?             21       I think a little -- so there was a shift
22        Q. No. I'm just asking how many hours in a          22       change at some point post these events.
23   24-hour day is there one person working at the United    23       During these events, my understanding is
24   Inn and Suites.                                          24       that there was three shifts. There are
25        A. At the front desk, only one person working       25       now, at United Inn, two shifts.

                                                                                                 25 (Pages 94 - 97)
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Case 1:20-cv-05233-SEG                Document 115-20 Filed 01/18/24                         Page 10 of 22
                                           CONF Tahir Shareef                                   February 22, 2023
                                     G.W. v. Northbrook Industries, Inc.
                                                   Page 110                                                       Page 112
 1   you know, they need the watch out because they are        1   guards?
 2   the police officer and they tell me, look, we check       2       A. No, they -- they said, you know, you
 3   the room, we talk with the people, and there is           3   should hire security guard.
 4   nothing going on.                                         4       Q. They said that?
 5        Q. How many times do you think you had               5       A. Yeah, they said some, you know.
 6   conversations with the DeKalb police Department about     6       Q. But you decided not to?
 7   prostitution?                                             7       A. Yeah, I did not do it so far.
 8        A. I had maybe five, six times.                      8       Q. Did the DeKalb County Police Department
 9        Q. During what time period?                          9   ever notify you in writing that there was
10        A. For last so many years.                          10   prostitution on the property?
11        Q. And how many times did you talk to the           11       A. No.
12   DeKalb County Police Department about sex                12       Q. All of these communications that you're
13   trafficking?                                             13   describing were oral communications?
14        A. About the sex trafficking, I don't think I       14       A. Right.
15   ever talked to them.                                     15       Q. Do you have any written correspondence of
16        Q. So are you saying that the DeKalb County         16   any type with the DeKalb County Police Department?
17   Police Department would come talk to you about           17       A. Correspondence meaning?
18   prostitution after they had already been on the          18       Q. Meaning letters, e-mails, faxes.
19   property to arrest somebody relating to prostitution?    19       A. No.
20        A. The answer is yes, but those -- those --         20       Q. Do you have an e-mail that you maintain
21   some of those times, I call, or my front desk call,      21   for the United Inn and Suites?
22   or the -- my manager call to the police officer, and     22       A. Yes.
23   tell them, look, we -- we think there is a, you know,    23       Q. What is that e-mail address?
24   too much traffic going on, there is some suspicious      24       A. It's called UnitedInn4649@gmail.com.
25   stuff going on. So, we don't want to go to the room,     25       Q. What do you use that e-mail address for?
                                                   Page 111                                                       Page 113
 1   but help us. So they came and they tell us, look,         1       A. I use it for sending e-mail to, you know,
 2   you know, we are telling you to, you know, remove         2   like a -- some customer, you know. If they need --
 3   these people from here and we are going to arrest         3   you know, sometimes they need to authorize me, you
 4   them, or they may have the warrant. So they take          4   know, that sometime they have -- and it's not
 5   them with them. So sometimes we call them and they        5   sometime, it's, you know, a few times. The owner of
 6   take out the people. And then, you know, they --          6   the credit card, you know, send me the information
 7   they did tell me, you know, like, look, you know,         7   because they are sending their conception group. And
 8   this women doing prostitution and we -- we find out       8   they send their information, they send the custom
 9   this in our record, so we taking them off there. Or       9   group's information.
10   sometime they come in for their own, and they arrest     10            And that's -- I talk to some of customer,
11   people and take them away.                               11   you know. If they have a complaint, they send me,
12        Q. After you had conversations with the             12   you know, we need service, you know, that day or we
13   DeKalb County Police Department about prostitution,      13   need extra service. So they communicate, you know,
14   did you ever say, you know, as the owner and manager     14   once a while like that.
15   of this hotel, I need to consider what steps I can       15       Q. Do you use that e-mail address to send and
16   take to try to prevent that from happening on this       16   receive e-mails related to the business operations of
17   property?                                                17   the hotel?
18        A. Yes.                                             18       A. Yes.
19        Q. What steps did you take?                         19       Q. Did that e-mail address exist in 2017?
20        A. No, I asked them what should I do. And           20       A. Yes.
21   they said look, you know, you need to call us, don't     21       Q. Was it in use at that time?
22   try to, you know, involve with the commotion, don't      22       A. I believe so. Yes.
23   put yourself -- yourself in, you know, jeopardize        23       Q. You said that the DeKalb County Police
24   position, call us.                                       24   Department recommended hiring security guards; they
25        Q. Did they say don't hire any more security        25   said that you could call them, the DeKalb County

                                                                                                29 (Pages 110 - 113)
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Case 1:20-cv-05233-SEG                  Document 115-20 Filed 01/18/24                          Page 11 of 22
                                             CONF Tahir Shareef                                    February 22, 2023
                                       G.W. v. Northbrook Industries, Inc.
                                                     Page 114                                                        Page 116
 1   Police Department, any time you saw a crime on the          1       A. No, I don't have any recollection.
 2   property.                                                   2       Q. And you can see in the top left, the
 3       A. Right.                                               3   incident type is identified as simple assault,
 4       Q. Did they recommend that you take any other           4   interference with government property. And I can
 5   steps on the property to try to reduce crime, reduce        5   represent to you, sir, that if you go to page 1382,
 6   prostitution?                                               6   which is really the fourth page of the document -- or
 7       A. They recommended to me? No, that's the --            7   I'm sorry, page 1383, which is really the fifth page
 8   pretty much, you know, like when they come in, we           8   of the document, that the assault involved a man
 9   have conversation, you know, that this thing can --         9   beating a woman in Room 345 at the hotel over monies
10   and this is their -- and their response is, look, you      10   owed for sexual favors.
11   know, this is, you know, the neighborhood we have,         11           MR. STORY: One more page. It's on
12   you know, on the Memorial Drive, you know. Crime           12       the next page. You're on 1383, David?
13   happen.                                                    13           MR. BOUCHARD: Yes, Will, I am.
14       Q. I'm going to show you what's been marked            14       Sorry, I jumped.
15   as Plaintiff's Exhibit 8, which is Bates-stamped           15           MR. STORY: No, that okay.
16   Plaintiff 194 and 195.                                     16           THE WITNESS: 82?
17           (Exhibit No. 8 was marked for                      17           MR. BOUCHARD: I'm on 83.
18       identification.)                                       18           MR. STORY: Yeah, you're on the
19       Q. (By Mr. Bouchard) This is a police report,          19       right one. Okay.
20   Mr. Shareef, dated August 12th, 2015. Do you see           20       Q. (By Mr. Bouchard) So this report says in
21   that?                                                      21   summary, Mr. Shareef, that a man was arrested after
22       A. Uh-huh. Yes.                                        22   beating a woman in Room 345 over monies owed for
23       Q. Have you seen this report before?                   23   sexual favors. Do you agree that in June 2017, there
24       A. No.                                                 24   was prostitution on the property at United Inn and
25       Q. I'll represent to you -- you can see on             25   Suites?
                                                     Page 115                                                        Page 117
 1   the first page at the very top in the left, it says,        1        A. I mean, looking at this report, yes.
 2   Incident type: Prostitution. And I'll represent to          2        Q. I'm showing you what's been marked as
 3   you on the narrative on page 2, that this report            3   Plaintiff's 10, which is Bates-stamped 1398 to 1401.
 4   documents that a woman was arrested for prostitution        4            (Exhibit No. 10 was marked for
 5   at the hotel after meeting two undercover officers in       5        identification.)
 6   the parking lot, and then walking to Room 101 of the        6        Q. (By Mr. Bouchard) And this is a police
 7   hotel. The woman didn't have a key to the room. The         7   report, Mr. Shareef, dated June 20th, 2017. Do you
 8   report says, she walked to the front desk to get one,       8   see that?
 9   and then went back to Room 101 to have commercial sex       9        A. Yes.
10   with these undercover officers, and they arrested          10        Q. And the incident type in the top left is
11   her.                                                       11   simple assault and then criminal trespass. And if
12            Do you agree that there was prostitution          12   you turn to the narrative section on page 1399, I'll
13   at the United Inn and Suites as of August 2015?            13   represent to you that the police here responded to a
14        A. Yeah, looking at this report, I agree.             14   fight between a prostitute and her pimp in Room 101
15        Q. I'm going to show you what's been marked           15   at the United Inn. The pimp left this prostitute's
16   as Plaintiff's Exhibit 9.                                  16   room after the fight to go stay at another woman's
17            (Exhibit No. 9 was marked for                     17   room at the hotel.
18        identification.)                                      18            Do you agree that as of June 20th, 2017,
19        Q. (By Mr. Bouchard) And this is                      19   there was prostitution at the United Inn and Suites?
20   Bates-stamped Plaintiff 1379 to 1383. Mr. Shareef,         20        A. Yes, after looking at this report.
21   this is a police report, Plaintiff's Exhibit 9 that        21        Q. Showing you Plaintiff's Exhibit 13, which
22   dated June 2nd, 2017. Do you see that?                     22   is Bates-stamped Plaintiff 1432 to 1433 --
23        A. Yes.                                               23            MR. STORY: David, Plaintiff 11.
24        Q. And I trust you have not seen this report          24            MR BOUCHARD: Thanks, Will. I'm
25   before, or have you seen it before?                        25        going to need that help, so don't hesitate

                                                                                                  30 (Pages 114 - 117)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                         Page 12 of 22
                                            CONF Tahir Shareef                                   February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                    Page 118                                                      Page 120
 1       to offer.                                              1   2015? Answer: United Inn is/was one of the -- one of
 2            MR. STORY: You gave it in mine, so                2   the problem hotels that we had in the DeKalb County
 3       it's fine.                                             3   for drug and prostitution anyway, so it was like a
 4            MR. BOUCHARD: Yes.                                4   radar hotel that we knew about due to the fact that a
 5       Q. (By Mr. Bouchard) Plaintiff's 11, this is           5   lot of arrests were made, several arrests were made
 6   a police report dated July 21, 2017. Do you see            6   for narcotics and prostitution prior, for several
 7   that, Mr. Shareef?                                         7   years at the hotel. And any time that we got a
 8       A. Yes.                                                8   female that we located off of Backpage.com and they
 9       Q. And the incident type is prostitution; do           9   gave us that address number, we immediately know the
10   you see that?                                             10   hotel, that it was United Inn.
11       A. Yes.                                               11            Do you understand what I just read to you?
12       Q. And if you look at page 1433, it says in           12       A. Yes.
13   the first paragraph, about halfway through the first      13       Q. Does that surprise you?
14   paragraph, "On July 20th, 2017, the DeKalb County         14       A. Yes.
15   Vice Unit and the Federal Bureau of Investigation         15       Q. Because you, as of August 12th, 2015, did
16   Metro Atlanta Child Exploitation Task Force, with         16   not understand that prostitution was commonly
17   help from the North Central Precinct Neighborhood         17   occurring at the United Inn and Suites?
18   Enforcement Team, conducted an operation in reference     18       A. Yes.
19   to a child and an adult prostitution at 4649              19       Q. And prior to today, at no point in time,
20   Memorial, United Inn and Suites, Decatur, Georgia.        20   you're testifying, did you believe that United Inn
21   Do you see that?                                          21   and Suites had a problem with prostitution; is that
22       A. Yes.                                               22   correct?
23       Q. As of July 20th, 2017, do you agree that           23       A. Yeah. After seeing these reports, yes.
24   prostitution was occurring at the United Inn and          24       Q. So prior today, you never, at any point in
25   Suites?                                                   25   time, believed that prostitution was a problem at the
                                                    Page 119                                                      Page 121
 1       A. Yeah, after see this report, yes.                   1   hotel?
 2       Q. So you're saying that at the time, you              2        A. No. We call the cop many times, you know,
 3   didn't know about any of this prostitution going           3   when -- in last, you know, 20 years, 18 years, you
 4   on --                                                      4   know, that there's a -- there people that is coming
 5       A. No.                                                 5   -- too many people going to the room, so there must
 6       Q. -- that we just talked about?                       6   be something wrong, so we need some help. And they
 7       A. No.                                                 7   came and they, you know, removed the people and they
 8       Q. Is that correct, you did not know is what           8   tell us, yes, that's a -- I mean, the woman is doing
 9   --                                                         9   prostitution, so we going to take her out.
10       A. I did not.                                         10        Q. And who would be the one who would observe
11       Q. -- you said?                                       11   traffic to the room? I mean, I assume if you --
12       A. Yes.                                               12        A. We have --
13       Q. So I'm going to go back to this deposition         13        Q. -- if you're working behind the front
14   that I was telling you about from the DeKalb County       14   desk, would you see traffic going to a room, or would
15   Police Department officer. And I want to read you         15   it be another hotel staff member who could see that?
16   some other portions of it and get your reactions to       16        A. It's combination of both. We see in the
17   it.                                                       17   cameras, or the other hotel staff, they came at the
18           So I asked him about that August 12th,            18   front desk and tell us, you know, this room, you
19   2015, report, which was the first police report we        19   know, we have so many people coming in and out, you
20   just looked at, Plaintiff's Exhibit 8. And you'll         20   know. So that's how we, you know, get some help from
21   see one of the officers' names on that report is          21   the DeKalb County police.
22   Officer Schofield. And I asked -- I'm now quoting         22        Q. So I wanted to read another portion to
23   from the deposition transcript. Question: How was it      23   you, sir, from this police officer's deposition from
24   that you and Schofield ended up investigating this        24   DeKalb County.
25   prostitution at the United Inn as of August 12th,         25            Question: Is it fair to say that there

                                                                                                 31 (Pages 118 - 121)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                         Page 13 of 22
                                            CONF Tahir Shareef                                   February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                    Page 122                                                       Page 124
 1   were a number of women, in your experience, working        1       Q. Well, as a hotel owner and manager, did
 2   at the United Inn doing commercial sex activities?         2   you ever participate in any trainings or receive any
 3   Answer: Yes. Question: And was that true during the        3   materials educating you about the popularity of
 4   entire time period that you were a member of the vice      4   websites being used to advertise commercial sex at
 5   unit from 2015 to 2021? Answer: Yes.                       5   hotels like the United Inn and Suites?
 6            That -- that answer surprises you?                6       A. I did not participate any, but other than
 7        A. Yes.                                               7   that, I -- I don't know.
 8        Q. I asked him, Question: Are you familiar --         8       Q. So I'm going to read to you, again, a
 9   over the course of your time in law enforcement with       9   portion of question and answer I had with this police
10   your work at the United Inn and Suites, are you           10   officer.
11   familiar with there being pimps at the hotel who were     11            Question: When you were working with the
12   working with prostitutes at the hotel? Answer: Yes.       12   vice unit, you said that you would go on websites
13   Question: Were you familiar with there being pimps at     13   like Backpage and ListCrawler, correct? Answer: Yes.
14   the United Inn and Suites who were overseeing             14   Question: And when you went on those websites, did
15   multiple prostitutes at the same time? Answer: Yes.       15   you occasionally see advertisements for women who you
16   Question: Is the period of 2015 to 2021 when you were     16   believed to be under the age of 18, that is, minors?
17   familiar with there being pimps at the United Inn         17   Answer: Yes. Question: Do you believe that some of
18   overseeing multiple prostitutes? Answer: Yes.             18   those women worked in commercial sex activity at the
19            That answer, again, surprises you, I take        19   United Inn and Suites? Answer: Yes.
20   it, Mr. Shareef?                                          20            Does that surprise you?
21        A. That's right.                                     21       A. Yes, surprise me.
22        Q. Because you had no knowledge of there             22       Q. I also asked him, Question: Do you know if
23   being pimps overseeing multiple prostitutes at the        23   you can filter on Backpage to identify advertisements
24   hotel; is that correct?                                   24   in a certain area, and if that was only available to
25        A. I have no knowledge, yes.                         25   you as a police officer or if that was available to
                                                    Page 123                                                       Page 125
 1       Q. So from 2017 to 2019, you had no knowledge          1   everyone in the general public using that website.
 2   of there being multiple pimps at the hotel overseeing      2   Answer: Everyone in the general public can type it
 3   multiple prostitutes at the hotel?                         3   in. If you know how to navigate through the
 4            MR. STORY: Objection. You can                     4   Backpage.com at the time, you could utilize it.
 5       answer.                                                5            Did you know that?
 6            THE WITNESS: I don't know how to                  6       A. No.
 7       answer it.                                             7       Q. Did you know that this police officer
 8       Q. (By Mr. Bouchard) Are you familiar with             8   testified that when he would filter on Backpage.com
 9   the website Backpage?                                      9   for commercial sex advertisements around Memorial
10       A. No.                                                10   Drive, nine out of ten of the posts would be coming
11       Q. You have no knowledge of the website               11   from United Inn and Suites?
12   Backpage?                                                 12            MR. STORY: Object to the form.
13       A. No.                                                13            THE WITNESS: So what is your
14       Q. Did you know that there are websites on            14       question then?
15   the Internet that exist for the purposes of               15       Q. (By Mr. Bouchard) Did you know that he
16   advertisements for commercial sex activities?             16   testified to that?
17       A. I don't know, but there must be a bunch of         17       A. You're telling me he testified that.
18   them. I don't know.                                       18       Q. I am telling you he testified --
19       Q. Well, do you know that or do you not know          19       A. Yes.
20   that, that there are websites that exist for purposes     20       Q. -- to that.
21   of advertising commercial sex?                            21       A. But I did not know after.
22       A. No, I believe there may be so many, but,           22       Q. Did you know that Backpage had a filter
23   you know, I -- I don't know the specific, you know --     23   that you could use to try to locate where
24   I never been to, you know, all these website and see      24   advertisements were coming from?
25   what's going on.                                          25       A. No.

                                                                                                 32 (Pages 122 - 125)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                          Page 14 of 22
                                            CONF Tahir Shareef                                    February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                    Page 134                                                        Page 136
 1           VIDEOGRAPHER: Back on the record at                1            Do you see that?
 2       12:20.                                                 2        A. Yes.
 3       Q. (By Mr. Bouchard) Mr. Shareef, I can                3        Q. Did you see these reviews prior to today?
 4   represent to you that as part of the discovery             4        A. I had said -- I don't know about these
 5   process in this case, Northbrook Industries has            5   reviews, but the -- if these guests are -- if these
 6   answered questions that we provided to them about          6   people are in our guest list, so we, you know, find
 7   various issues in the case. Okay? And one of the           7   out and, you know, find the number from the -- from
 8   issues that we asked about was who monitors online         8   our -- the check-in system from the record, and call
 9   reviews at the hotel. And the response provided was        9   them and ask them that, you know, they gave us, you
10   that you and Mr. Islam monitor reviews. Is that           10   know, this -- like a full of drugs. So what did the
11   correct?                                                  11   -- what did they find out? So, it's like maybe, you
12       A. Yes.                                               12   know, if I call them, they say, oh, you know what,
13       Q. Did somebody ask you to monitor online             13   somebody knock my door and try to sell drug, and I
14   reviews at the hotel, or did you take it upon             14   didn't like it. So we'll apologize that and, you
15   yourself to do that?                                      15   know, just to see if there is something that we can
16       A. Took it upon ourself, yeah.                        16   fix it.
17       Q. Which websites would you monitor reviews           17            Sometimes they give us review that they
18   from?                                                     18   are -- they are there living there, and we fix their
19       A. On the Google.                                     19   problem right away.
20       Q. Any other websites?                                20        Q. So I noticed that, for example, in
21       A. No.                                                21   Plaintiff's Exhibit 12, there's no written response
22       Q. Like Expedia on Priceline, Orbitz?                 22   here from the hotel --
23       A. No, we don't do that.                              23        A. Uh-huh.
24       Q. Just Google?                                       24        Q. -- to the review.
25       A. Yeah.                                              25        A. Right.
                                                    Page 135                                                        Page 137
 1       Q. How did you decide to just do Google?               1       Q. Right? Was it your practice to not write
 2       A. I think it would come automatically to              2   a response on Google?
 3   you, so that's what happened.                              3       A. Yes.
 4       Q. Why did you look at online reviews?                 4       Q. Are you saying that you would call people
 5       A. To see, you know, what's going on, and if           5   --
 6   there is something that we can do to fix it. That's        6       A. Call, yes.
 7   the reason.                                                7       Q. -- who left negative reviews?
 8       Q. To try to get feedback from the customers?          8       A. Yes.
 9       A. Yeah.                                               9       Q. And you would --
10       Q. I want to show you Plaintiff's Exhibit 12,         10          MR. STORY: Try to let him get his
11   which is a Google -- some Google reviews.                 11       question out.
12           (Exhibit No. 12 was marked for                    12          THE WITNESS: Oh, I'm sorry.
13       identification.)                                      13          MR. STORY: You're good. Try again
14       Q. (By Mr. Bouchard) And do you see                   14       --
15   Plaintiff's Exhibit 12, Mr. Shareef --                    15       Q. (By Mr Bouchard) So, are you saying you
16       A. Yes.                                               16   would do that every time?
17       Q. -- there's four reviews called out here on         17       A. No.
18   the bottom half of the Document. One says, Full of        18       Q. Sometimes?
19   mess, drugs. Another one from Angela Monroe Wood          19       A. Yes.
20   says, They cook drugs here. It's a no for me, dog.        20       Q. Who would actually make the phone call,
21   Been coming here -- around here for nine months to        21   Mr. Shareef? Would you personally?
22   visit family who stay here, and this is horrific.         22       A. I did.
23   And then the last review says, Full of drug dealers       23       Q. To try to address whatever it was that
24   and addicts, had roaches there, costs too much a          24   caused the negative review?
25   week.                                                     25       A. Yes.

                                                                                                 35 (Pages 134 - 137)
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Case 1:20-cv-05233-SEG                  Document 115-20 Filed 01/18/24                          Page 15 of 22
                                             CONF Tahir Shareef                                    February 22, 2023
                                       G.W. v. Northbrook Industries, Inc.
                                                     Page 150                                                        Page 152
 1   looks like a regular car, but he has those lights on.       1       A. We don't.
 2   So it looks like a private car sometimes.                   2       Q. So they would -- before they left at
 3       Q. And remember, I'm talking about 2017 to              3   2 a.m., they would make an oral report to the person
 4   2019?                                                       4   working at the front desk telling them what --
 5       A. Yeah, at that time, also.                            5       A. Not necessarily.
 6       Q. Okay.                                                6       Q. Okay.
 7       A. Same thing.                                          7       A. Not necessarily.
 8       Q. Same thing then?                                     8       Q. Only if there was something that they
 9       A. Yeah.                                                9   thought they needed to report?
10       Q. So, you've told me that when you were at            10       A. Yes.
11   the property for 15 to 25 days a month, you would          11       Q. And if there was something they thought
12   typically be sleeping from around 10 or 11 until 6, 7      12   they needed to report and they did report it, then
13   or 8 in the morning. So how would you know what            13   the front desk would convey that to you when you
14   Webber and McClelland did when they were on their          14   started working in the morning?
15   shifts?                                                    15       A. That's right.
16       A. They -- I mean, we communicate via kind of          16       Q. Did you ever e-mail with Webber or
17   text message, phone call. And they come on a very          17   McClelland, or just text message?
18   regular basis on the daytime. But again, many, many        18       A. Some was text message all that.
19   nights, I'm up, you know. Like yesterday, I talked         19       Q. I think you've suggested -- and maybe --
20   with the officer at almost 1 a.m. And he was outside       20   correct me if I'm wrong. I understood you to suggest
21   and we have, you know, some conversation. So               21   that you decided to have security from 10 p.m. to
22   sometimes I see them, you know, sitting at the car or      22   2 a.m. because that was the period of the 24-hour day
23   walking around, so we talk.                                23   when there was the most activity on the property that
24       Q. So if you are awake, you might see them,            24   might be criminal in nature.
25   but if you are not awake, you're sleeping; you             25       A. Yes.
                                                     Page 151                                                        Page 153
 1   obviously don't know what they were doing or not            1           MS. WARD: Objection.
 2   doing?                                                      2           THE WITNESS: Yeah.
 3       A. Yeah, that's right.                                  3       Q. (By Mr. Bouchard) Outside of that time
 4       Q. You're saying you would have text messages           4   period, you agree that there could still be criminal
 5   between yourself and Officers Webber or McClelland?         5   activity of course, right?
 6       A. Yeah. We text each other. Yeah...                    6       A. Yeah, could be.
 7       Q. So when their shift ended at 2 a.m., if              7       Q. Just because the security guard leaves at
 8   I'm understanding correctly, most -- most nights, you       8   2, doesn't mean there couldn't be crime at 2:15?
 9   would be asleep, then. So would they write up a             9       A. Uh-huh.
10   report, or how would you learn what had transpired         10       Q. Is that a yes?
11   during their shift?                                        11       A. Yes.
12       A. When they leave, they inform the front              12       Q. And from 2017 to 2019, you never had a
13   desk, you know, if something happened, or, you know        13   security company that you contracted with to provide
14   the front desk talk with them or they tell me, you         14   security at the hotel; it was just Officers Webber
15   know, in the morning. Or maybe the officer next            15   and McClelland; is that right?
16   morning, they tell me, hey, you know, I have two           16       A. Right.
17   room, you know, they are, you know, making noise or        17       Q. Did you ever, at any point in time, sir,
18   they are -- you know, they standing outside or loud        18   have a security assessment done of the property?
19   music. And we put them in the room. So next day, I         19       A. Security assessment. No.
20   can find out what's going on.                              20       Q. Have you ever hired anybody to do an audit
21       Q. So it was word of mouth?                            21   of the property to try to determine what could be
22       A. Yeah.                                               22   done to enhance security?
23       Q. They wouldn't draft an actual document --           23       A. No.
24       A. No, we don't.                                       24       Q. Did the security guards, Webber and
25       Q. -- report?                                          25   McClelland, from the years 2017 to 2019, ever make

                                                                                                   39 (Pages 150 - 153)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                         Page 16 of 22
                                            CONF Tahir Shareef                                   February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                    Page 154                                                       Page 156
 1   recommendations on what you could do to improve            1        Q. Do you recall if Webber or McClelland ever
 2   security at the hotel?                                     2   suggested hiring more security?
 3       A. Yes. We talk about it and they -- they're           3        A. No, not really.
 4   not objecting it.                                          4        Q. You do not recall?
 5       Q. What suggestions did they have on how you           5        A. No.
 6   could improve security at the hotel?                       6        Q. Did you ever have any complaints about
 7       A. When this security person -- hiring a               7   Webber or McClelland and the services they were
 8   security person coming or security company come up, I      8   providing?
 9   ask them if they recommend, you know, some company         9        A. Complaint about those officers?
10   who is good that can do the job. And they said, you       10        Q. Uh-huh.
11   know, the -- there are so many, I have to look. But       11        A. No.
12   they never recommend anybody, but they, you know --       12        Q. You were pleased with the work they were
13   the suggestion is there.                                  13   doing?
14       Q. Why didn't you look yourself?                      14        A. Yes.
15       A. In sometime of 2007, '8 and '9, I did hire         15        Q. Was there a curfew from 27 [sic] to 2019
16   a security company, but I find out they -- they did       16   at the United Inn and Suites?
17   not turn out to be good.                                  17        A. Curfew mean -- what does that mean,
18       Q. I think I've asked you this question a few         18   curfew?
19   different ways. What is the reason why you did not        19        Q. People are not allowed to be outside of
20   have any security at the hotel outside of 10 p.m. to      20   their rooms.
21   2 a.m.?                                                   21        A. Not the curfew. We enforce it, they're
22           MS. WARD: Objection.                              22   not allowing to standing long time there. But
23           THE WITNESS: I don't know how to                  23   there's not a curfew thing.
24       answer it.                                            24        Q. How would the cur- -- how would the rule
25       Q. (By Mr. Bouchard) Well, you're the manager         25   on loitering be enforced after 2:00 in the morning
                                                    Page 155                                                       Page 157
 1   and the owner.                                             1   before the morning shift shows up, because there's
 2        A. Yes.                                               2   only one person working at the hotel?
 3        Q. So, I mean, if this case goes to trial             3        A. The -- the front desk who is there, they
 4   and, for example, Mr. Shareef, you provide testimony       4   go out and make a round. And when they see someone
 5   at trial, well, the reason why I didn't do that was        5   standing there or maybe the -- you know, the -- we
 6   X, Y, Z, this is my only opportunity to find out why       6   got a -- you know, like we get complaint like
 7   the owner and the manager at the United Inn and            7   somebody from a certain room call, hey, there are
 8   Suites didn't hire security guards for the other           8   people standing and they have, you know, very loud,
 9   20 hours of the day. So what -- is the reason I            9   and I cannot sleep, so they making noise or they
10   don't know why, or is there a reason why you did not?     10   listen to music. So the front desk go there and tell
11        A. No, the only reason is I have, you know,          11   them to, you know, go in their room and sleep.
12   the -- the DeKalb County, I call them and they come       12        Q. Where are the surveillance cameras
13   and, you know. I do whatever I need to make a call,       13   located?
14   so if there is somebody need to be removed the            14        A. That is at the front desk.
15   property, they come and do it for me, or some other,      15        Q. The feed where you could actually see what
16   you know, things. So, basically DeKalb County, yeah,      16   the surveillance cameras are showing are at the front
17   I call them and ask for help. That's the -- that          17   desk?
18   could be the reason.                                      18        A. Yes.
19        Q. I think you mentioned that DeKalb County          19        Q. Are they also behind the window?
20   police had recommended to you that you hire more          20        A. No.
21   security?                                                 21        Q. So, you've said that at nighttime, the
22        A. Yeah, they suggest it, yes.                       22   front desk area is closed, the window is open.
23        Q. When was that? Was that around 2017 to            23        A. Yes.
24   2019?                                                     24        Q. Is the person -- the one person who's
25        A. I don't recall when was that.                     25   working at the hotel behind the window at nighttime,

                                                                                                 40 (Pages 154 - 157)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                           Page 17 of 22
                                            CONF Tahir Shareef                                     February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                     Page 158                                                         Page 160
 1   do they have access to surveillance camera feeds?           1   know, hanging there, loud conversation, or the
 2       A. Yes.                                                 2   smoking, they tell them, hey, man, there is no
 3       Q. Because there are -- there's a feed behind           3   smoking policy in the DeKalb County hotel. So you
 4   the window? Is there a screen --                            4   cannot smoke. And then they tell them to go stay in
 5       A. No, there's --                                       5   the room.
 6       Q. -- a video screen they can look at --                6       Q. So they would go out and talk to the
 7       A. Yeah, yeah.                                          7   guests about whatever it is they'd seen that was
 8       Q. -- behind the window?                                8   concerning?
 9       A. Yeah. We have monitor right there, so                9       A. Yes. Yes.
10   they are standing here, you know. So then let's say        10       Q. You've referenced a do-not-rent list. Is
11   this is a window, and monitor is right here in this        11   that actually like a document with a list of people's
12   wall.                                                      12   names on it?
13       Q. And how many cameras are there throughout           13       A. Yes.
14   the hotel property?                                        14       Q. Okay.
15       A. I believe 36.                                       15       A. Big one.
16       Q. How many rooms are in the hotel?                    16       Q. Do you maintain that document?
17       A. 172.                                                17       A. Big one, yes.
18       Q. 172?                                                18       Q. I don't know if it's been produced in
19       A. Yes.                                                19   discovery. So it's something you have at the hotel?
20       Q. And what's max capacity at the hotel in             20       A. That is -- I don't know how to produce
21   terms of guests?                                           21   that, but this is like -- can I give example, so this
22       A. Max capacity. I mean, I have maybe 10, 20           22   way maybe I explain better?
23   rooms empty, you know, in the average day. Is that         23           So a person rent a room two years ago, or
24   the question?                                              24   yesterday, and they misbehave for anything. We put
25       Q. Well, that it -- that's the answer to a             25   them on a do-not-rent list. So when they come back,
                                                     Page 159                                                         Page 161
 1   different question I was going to ask.                      1   the system already give a red flag, so they cannot
 2       A. Okay.                                                2   get a room at my place.
 3       Q. So, on average, would you be renting out             3        Q. So, their name would somehow be entered
 4   about 150 rooms a night?                                    4   into their reservation system and it -- there would
 5       A. Yes.                                                 5   be a flag --
 6       Q. And so if you have one or two or more                6        A. Something like that.
 7   guests, you may have 150 to 300 people staying at the       7        Q. -- if that person came back?
 8   hotel?                                                      8        A. Yes.
 9       A. Yes.                                                 9        Q. So it's not like you can go back to the
10       Q. Or more, if there are more quests in a              10   office and pull up, like here's my do-not-rent list,
11   room, correct --                                           11   it's not a paper document that you have. Is that
12       A. Right. Yes.                                         12   what you're saying?
13       Q. What's the max number of guests that                13        A. I -- I never print it.
14   should be in a room?                                       14        Q. Okay.
15       A. Two adults, and two children.                       15        A. I -- I don't know how to print it.
16       Q. So four?                                            16        Q. Okay.
17       A. Yes.                                                17        A. But the system make it so easy, so in like
18       Q. Who was responsible for reviewing the               18   a five second, we found out this guy stays in 20 --
19   surveillance camera footage? Is it whoever was             19   you know, '15 or '16, do not rent him a room.
20   working at the front desk at that point in time?           20        Q. Let me ask you about your reser- -- room
21       A. Yes.                                                21   reservation system. So, how -- I want to ask about
22       Q. And if they saw something concerning, what          22   searching your room reservation system.
23   were they supposed to do?                                  23        A. Okay.
24       A. They go out and, you know, tell the --              24        Q. Are you able to search your room
25   whoever is doing something, people are just, you           25   reservation system for guests for a particular time

                                                                                                   41 (Pages 158 - 161)
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Case 1:20-cv-05233-SEG                Document 115-20 Filed 01/18/24                         Page 18 of 22
                                           CONF Tahir Shareef                                   February 22, 2023
                                     G.W. v. Northbrook Industries, Inc.
                                                   Page 182                                                       Page 184
 1   document, but you think the first two were signed by      1        A. Yes.
 2   Azfar?                                                    2        Q. Did that training include signs of
 3      A. No, I don't say it's signed by Azfar. I             3   criminal activity, including prostitution?
 4   don't know. I said somebody in the office.                4        A. Yes.
 5      Q. You don't know who signed any of these?             5        Q. In other words, would you cover, as part
 6      A. Right.                                              6   of the training that you would provide to staff,
 7      Q. You presume it was somebody who works for           7   things to look out for that might indicate criminal
 8   Bulldog Insurance; is that correct?                       8   activity?
 9      A. Yes.                                                9        A. Yes.
10      Q. Is that your insurance broker?                     10        Q. And what types of things would you say to
11      A. Yes.                                               11   staff when you were training them about what might
12           THE WITNESS: I need to go to the                 12   indicate criminal activity?
13      bathroom.                                             13        A. So, we -- like our observation was that if
14           MR. STORY: Yeah, let's take a                    14   we have seen evidence of too many people going -- you
15      break.                                                15   know any particular room, and they keep going back
16           MR. BOUCHARD: Take a break.                      16   and forth, or the people are just standing in front
17           MS. WARD: And the food is here.                  17   -- front of the room, and they are, you know, talking
18           VIDEOGRAPHER: Off the record 1:22.               18   loud, they are smoking, or, you know, they start,
19           (Recess was taken.)                              19   yelling at each other, fighting, so all these signs
20           VIDEOGRAPHER: Back on the record at              20   are that, you know, you need to be very careful and
21      2:01.                                                 21   try to resolve it, you know. And tell people that
22      Q. (By Mr. Bouchard) Mr. Shareef, welcome             22   they just go back to their room and stay in their
23   back. Did you have a chance to have some lunch?          23   room, or they leave. So, either case, if they go
24      A. Yes, yes. Thank you.                               24   back to their room and calm down, that's fine. If
25      Q. Very good. I want to move on now and talk          25   they refuse to do it, then we call the DeKalb County
                                                   Page 183                                                       Page 185
 1   to you a little bit more, Mr. Shareef, about training     1   and seek for their help. And when they come in,
 2   at the hotel.                                             2   they, you know, kind of observe that -- what is going
 3        A. Okay.                                             3   on. Sometime they find out the person who is
 4        Q. If I've understood your testimony today           4   involved in any type of commotion, you know, they
 5   correctly, it sounds like there were not formal           5   have some kind of warning or the warrant against
 6   scheduled training sessions with the entire staff all     6   them, so they take them away. Or sometime we tell
 7   gathering together at one time, but instead there         7   them to -- you know, we don't want this person here
 8   were kind of more casual informal discussions between     8   anymore, remove them from the property. So they
 9   you or Mr. Islam and individual staff members. Is         9   remove it, and we get the trespass warning against
10   that correct?                                            10   them so they never come back.
11        A. Yes.                                             11            So those are the things we talk to our
12        Q. So let me -- just to make sure I've got          12   staff, and they observe it very carefully.
13   that, let me just ask you: From 2017 to 2019, were       13        Q. Are there any other things that you would
14   there ever training sessions provided at the hotel       14   tell your staff to look out for as it relates to
15   for all of the staff at the hotel at the same time?      15   trying to identify criminal activity? You just gave
16        A. No.                                              16   me a list of items. I'm wondering is there anything
17        Q. Would you train staff at the hotel by            17   else or did you just tell me everything.
18   talking with them one on one?                            18        A. The -- most of the time is that we just
19        A. Yes.                                             19   cannot -- I don't go in the room for, you know -- if
20        Q. Is that how Mr. Islam would have trained         20   we think there is something going on -- into the
21   staff at the hotel as well?                              21   room. So we call the, you know, police and tell
22        A. Yes.                                             22   them, you know, that, look, we need help to find out,
23        Q. Do you believe that all of the staff who         23   you know, why these people have so -- so much traffic
24   worked at the hotel from 2017 through 2019 received      24   going to the room. And they don't listen to us, so
25   training at some point?                                  25   they need to be removed from the property.

                                                                                                47 (Pages 182 - 185)
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Case 1:20-cv-05233-SEG                Document 115-20 Filed 01/18/24                         Page 19 of 22
                                           CONF Tahir Shareef                                   February 22, 2023
                                     G.W. v. Northbrook Industries, Inc.
                                                   Page 186                                                       Page 188
 1       Q. Did all of the housekeepers speak English          1       A. Yes.
 2   from 2017 to 2019?                                        2       Q. Did you, at any point in time,
 3       A. Some speaks little bit better, but some,           3   specifically provide a training or discussion
 4   they don't.                                               4   focusing on prostitution or sex trafficking or sex
 5       Q. And so, if -- I'm assuming would they              5   for money?
 6   speak -- based on the names, would they speak             6       A. Yes, we talk about it. And we did tell
 7   Spanish?                                                  7   them that, you know, everybody need to have their,
 8       A. They did speak Spanish.                            8   you know, eyes keep it open and see what happened.
 9       Q. Did some of the housekeepers from 2017 to          9   And then the -- the sex trafficking or the
10   2019 not speak English at all?                           10   prostitution, we just cannot, you know, go and don't
11       A. No. Everybody speak English.                      11   know how to, you know, go for no reason in the room
12       Q. Did some of the housekeepers speak very           12   and tell them what you're doing is prostitution and
13   limited English?                                         13   sex trafficking. So in that case, you know, we
14       A. Uh-huh.                                           14   always seek help from the DeKalb County Police.
15       Q. And would -- when you say you would train         15       Q. Of course, I assume, and correct me if I'm
16   staff at the hotel through one-on-one discussions,       16   wrong, the housekeepers at United Inn and Suites
17   either involving you or Mr. Islam, would you talk in     17   would regularly go into hotel rooms to clean --
18   Spanish to somebody who speaks very limited English?     18       A. Yes.
19       A. No. We have three housekeeper they speak          19       Q. -- right?
20   fairly well. So they involve them stay with us, and      20       A. To clean, yes.
21   then they translated.                                    21       Q. And if there were any evidence of
22       Q. How often would you have these discussions        22   commercial sex activities occurring outside of the
23   about what to look for as it relates to criminal         23   room, either in the stairwells, in the hallways, in
24   activity on the property? Was this the kind of           24   the parking lots, that is visible to staff at the
25   thing, Mr. Shareef, where when you hired somebody and    25   hotel, right?
                                                   Page 187                                                       Page 189
 1   you were introducing them to the property and they        1       A. Right.
 2   were beginning their work at the property, that you       2       Q. Because it's not in a hotel room?
 3   would talk to them about criminal activity and what       3       A. Uh-huh.
 4   to look for? Or is it something that you continued        4       Q. Is that correct?
 5   to talk to hotel staff about on an ongoing basis?         5       A. That's right.
 6       A. Of course whenever we hire any new person,         6       Q. Mr. Shareef, you gave me -- as I said and
 7   that is part of their, you know, detail, work ethics,     7   as you've said, you gave me a list of things that you
 8   you know, what to do, besides how to do their job.        8   told staff to look for that would indicate criminal
 9   So we tell them all the -- all the thing which I          9   activity. When you talk to staff about prostitution
10   already explained to you. And then at least we go,       10   or sex for money at the hotel and things to look for,
11   maybe -- if not a monthly basis, maybe bi-monthly        11   did you give them any additional items to look for,
12   basis, we talk to them and just refresh the memory.      12   or is it similar to the items that you already
13       Q. Were there ever training materials                13   described?
14   distributed in writing, or were all of the trainings     14       A. Basically similar from the item.
15   oral?                                                    15       Q. Where would these conversations occur when
16       A. No.                                               16   you would train, provide these trainings to staff
17       Q. All of the trainings were oral?                   17   members? Where would you be?
18       A. Just oral, yes.                                   18       A. Next to the front desk, we have just a --
19       Q. So there's no written training materials?         19   we call it back office. So, with the -- with the
20       A. No.                                               20   front desk staff, we kind of sit there in the back
21       Q. And that rhythm or schedule that you just         21   office and have some conversation. And for the
22   described of, I'd train people when they started         22   housekeeping, they have their lunchroom, we can call.
23   working at the hotel, and then maybe on a monthly or     23   So the sitting area. So -- but, you know, about
24   every two months basis have a conversation with them,    24   eight chairs there, sometimes they have for -- you
25   was that true from 2017 to 2019?                         25   know, get together for the lunchtime, or sometime

                                                                                                48 (Pages 186 - 189)
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Case 1:20-cv-05233-SEG                Document 115-20 Filed 01/18/24                          Page 20 of 22
                                           CONF Tahir Shareef                                    February 22, 2023
                                     G.W. v. Northbrook Industries, Inc.
                                                   Page 190                                                        Page 192
 1   when they are finish the day work, and before they        1       A. Yeah.
 2   clock out, so we talk about it.                           2       Q. Do you believe everybody who worked at the
 3       Q. And is there a clock-in, clock-out system?         3   hotel in that time period would verify that if they
 4       A. Clock-in, clock-out system, yes.                   4   were asked that question?
 5       Q. Where is that system?                              5       A. Yeah.
 6       A. That is in the main office.                        6       Q. Other than you and Mr. Islam, was anybody
 7       Q. Which is by the lobby and the front desk?          7   else responsible for providing training of hotel
 8       A. Yes.                                               8   staff?
 9       Q. Do -- is it a punch card system or how             9       A. No.
10   does -- how --                                           10       Q. In the years 2017 to 2019, nobody else --
11       A. Yes, punch card.                                  11       A. Nobody else.
12       Q. Punch card. Was that true in 2017 to              12       Q. -- was responsible?
13   2019?                                                    13       A. Yeah.
14       A. Yeah.                                             14       Q. Would you and Mr. Islam, you know, prepare
15       Q. Is there an electronic record of --               15   together in terms of what you were going to tell
16       A. No.                                               16   staff about what to look for? Would you discuss
17       Q. No? Okay. The information that you would          17   together?
18   provide in the trainings, Mr. Shareef, what you've       18       A. We discuss together, yes. Not -- I don't
19   described to me, where did you get that information      19   want to -- but bear -- we discuss together, and then
20   from?                                                    20   we can, you know, address for if we have, you know,
21       A. This is -- we have, like this observation         21   something we call the cops, you know, on -- on
22   for last, you know, 17 years, and then we have, you      22   someone, on some of the rooms. So we kind of mention
23   know, something, you know, come up at the -- help        23   that, hey, you know, this front desk person or the
24   with the police officer, you know. So -- but the         24   housekeeper mentioned something. And on their
25   basic -- but the basic thing which I emphasize to        25   observation, we remove that person from the property.
                                                   Page 191                                                        Page 193
 1   them, that do not enforce anything, you know, call --     1   And we need to tell the other people to, you know, do
 2   tell the front desk, tell us. Just identify the           2   the same.
 3   room, all the people, and then we take care of the        3        Q. Did you ever ask any outside organizations
 4   rest of the thing.                                        4   to provide a training to the hotel staff?
 5        Q. So are you saying the information that you        5        A. No.
 6   relied upon to provide these trainings to the hotel       6        Q. On any topic related to crime or any other
 7   staff, was that information based on your                 7   topic, you did not?
 8   observations of the property over 17 years?               8        A. No.
 9        A. Yeah.                                             9        Q. Did you post any flyers at the hotel about
10        Q. As opposed to saying, no, it was based on        10   human trafficking?
11   this manual that I had from AAHOA, or this manual I      11        A. I don't know. I don't think so, but I --
12   got from the American Hospitality and Lodging            12   I can -- I can picture it, I have something, but it's
13   Association, so was there any training material like     13   -- it's buried, you know, under the other paperwork
14   that, like a document that you were relying on, or       14   on the -- on the wall I'm talking about.
15   was it your observations of the property?                15        Q. Is this a wall in the lobby or where are
16        A. Yeah, but those -- yeah, those document          16   you thinking of --
17   which I read, you know, that time. So those are          17        A. Yeah.
18   basically some common sense. But, you know, that is      18        Q. In the lobby?
19   maybe a -- like a few papers, you know, in the office    19        A. Yeah.
20   file. But we kind of never provide them any written      20        Q. I want to look back at Plaintiff's
21   -- like a material.                                      21   Exhibit 2, which is this Blue Campaign document,
22        Q. And you believe, as you've said, that            22   Mr. Shareef.
23   everybody who would have worked at the property from     23        A. Uh-huh.
24   2017 to '19, would have been trained in the way          24        Q. Do you remember talking very briefly about
25   you've described?                                        25   this --

                                                                                                 49 (Pages 190 - 193)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                       Page 21 of 22
                                            CONF Tahir Shareef                                 February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                    Page 210                                                   Page 212
 1       Q. Okay.                                               1        A. No.
 2       A. There's a few wholesaler in DeKalb County,          2        Q. You don't think you've seen them before?
 3   we get from there.                                         3        A. No.
 4       Q. Do you have guests at the hotel who have            4        Q. Again, if they said that they recognized
 5   traveled across state lines to come stay at the            5   you, would you say I've definitely never seen them
 6   property? In other words, guests from out of state.        6   before, or would you just say, I may have, but I
 7       A. Lots of them, yes.                                  7   don't remember because I see a lot of guests?
 8       Q. And you accept credit cards at the hotel?           8        A. I think I -- I don't recall. I'm not
 9       A. Yes.                                                9   remember them.
10            MR. BOUCHARD: Are we on 18?                      10        Q. Showing you a photo that's been marked as
11            MR. STORY: I think we're on 17, but              11   Plaintiff's Exhibit 20.
12       if --                                                 12            (Exhibit No. 20 was marked for
13            MS. WARD: We've already had 17.                  13        identification.)
14            MR. BOUCHARD: Yes.                               14        Q. (By Mr. Bouchard) I'll represent to you
15            MS. WARD: 18 will be next.                       15   this is a photo of G.W. Is this, from what you can
16            MR. STORY: Okay. Okay.                           16   tell, Mr. Shareef, a photo of a room at the United
17            MR. BOUCHARD: 18 was the -- 17 was               17   Inn and Suites?
18       the insurance application.                            18        A. I don't know if these two lines represent
19            MS. WARD: Yes.                                   19   what here. So, I don't -- I don't recall these two
20            MR. STORY: Yes. Got you.                         20   lines there. What is this?
21            MR. BOUCHARD: All right.                         21            MR. STORY: I think that's a mirror.
22            (Exhibit No. 18 was marked for                   22            MR. BOUCHARD: A mirror.
23       identification.)                                      23            THE WITNESS: Oh, that's a mirror.
24       Q. (By Mr. Bouchard) Showing you what's been          24        Okay.
25   marked as Plaintiff's Exhibit 18. I can represent to      25            MR. STORY: It's harder because it's
                                                    Page 211                                                   Page 213
 1   you that this is a picture of J.G. taken when she was      1       in black and white, but can you see this is
 2   16 years old, which is how old she was when she was        2       a border of a mirror, I believe --
 3   sex trafficked at the United Inn and Suites. Do you        3           THE WITNESS: Okay. Okay. Yeah.
 4   recognize Ms. J.D.?                                        4       That room seems to be our room.
 5       A. No.                                                 5       Q. (By Mr. Bouchard) Does that look to be a
 6       Q. You don't believe you've ever seen her              6   United Inn and Suites room?
 7   before?                                                    7       A. I mean, we have, you know, this kind of
 8       A. No.                                                 8   carpet.
 9       Q. And if she said she recognized you and had          9       Q. Well, I mean, you've lived at the
10   seen you before, would you say it's possible you          10   property. I assume you're quite familiar with what
11   don't remember seeing her, or you are certain you         11   --
12   have never seen her before?                               12       A. No, I --
13       A. If she said she saw me, maybe, because I           13       Q. -- the rooms look like?
14   have, you know, more than 300 people at any given         14       A. Yeah, but I'm -- but there are -- if you
15   time. So, I may not be -- remember all the faces.         15   go to any hotel in that road, they have the same
16           (Exhibit No. 19 was marked for                    16   carpet, same beds.
17       identification.)                                      17       Q. That's what I'm asking.
18       Q. (By Mr. Bouchard) I'm sending -- sorry,            18       A. Yeah, so.
19   excuse me. Showing you a photo what I've marked as        19       Q. Does this appear to be a room at the
20   Plaintiff's Exhibit 19, which is, I'll represent to       20   United Inn and Suites?
21   you, a photo of A.G., G.W. and a sex buyer at the         21       A. Yeah. I can say yes.
22   United Inn and Suites in 2017. Do you recognize, in       22       Q. Showing you Plaintiff's Exhibit 21.
23   Plaintiff's Exhibit 19 --                                 23           (Exhibit No. 21 was marked for
24       A. No.                                                24       identification.)
25       Q. -- either of the women photographed there?         25       Q. (By Mr. Bouchard) This is a slightly

                                                                                              54 (Pages 210 - 213)
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Case 1:20-cv-05233-SEG                 Document 115-20 Filed 01/18/24                        Page 22 of 22
                                            CONF Tahir Shareef                                  February 22, 2023
                                      G.W. v. Northbrook Industries, Inc.
                                                    Page 214                                                     Page 216
 1   closer up version of the photo of the plaintiff A.G.  1            A. Yeah.
 2   are you saying you still do not recognize Ms. A.G.? 2              Q. And are the people who work at the hotel
 3       A. No.                                            3        or who worked there from 2017 to 2019, are they W-2
 4       Q. You said that there were 36 surveillance       4        employees or 1099?
 5   cameras at the hotel. Are any of those surveillance 5              A. Yeah, W-2 or 1099.
 6   cameras angled towards the parking lot at the hotel? 6             Q. So would you have a W-2 or a 1099 for
 7       A. Yeah, a few of them.                           7        everybody who worked at the hotel from 2017 to 2019?
 8       Q. Are any of those cameras angled towards        8            A. I should, or my CPA should have it.
 9   the front parking lot, facing Memorial Drive?         9            Q. Do you take a salary from the hotel --
10       A. Yeah, few of them.                            10            A. Yes.
11       Q. I think you said at the beginning of your     11            Q. -- or how are you paid? You take a
12   deposition, Mr. Shareef, that you handled payroll    12        salary?
13   matter -- matters for the company. Is that right?    13            A. Yes.
14       A. Yeah.                                         14            Q. What's your salary?
15       Q. Are you the one in charge of payroll or is 15               A. About 5,000 a month.
16   anybody else in charge?                              16            Q. Does your wife also get paid?
17       A. I'm the one.                                  17            A. Yeah.
18       Q. Mr. Islam is not in charge of it?             18            Q. Is she salaried as well?
19       A. No.                                           19            A. Yeah.
20       Q. Were you in charge of payroll from 2017 to 20               Q. Same amount or --
21   2019?                                                21            A. Uh-huh, almost same.
22       A. Yes.                                          22            Q. Are you a W-2 employee of the hotel?
23       Q. How do you pay the hotel staff? Is it         23            A. Yes.
24   cash, check, some other way?                         24            Q. And was that true 2017 to 2019?
25       A. Pay cash, I pay checks.                       25            A. Yes.
                                                    Page 215                                                     Page 217
 1       Q. Cash and checks?                                    1       Q. Has your pay changed since 2017, or has it
 2       A. Yeah.                                               2   been about the same?
 3       Q. How do you decide whether to pay cash or            3       A. Little bit, maybe.
 4   check?                                                     4       Q. Fairly similar, though? I mean, was it
 5       A. If someone says that, you know, it's going          5   about 5,000 a month for you --
 6   to cost them to, you know, go to the bank and cash         6       A. Maybe that time --
 7   their check, and so, I pay cash just so they're not,       7       Q. What?
 8   you know, paying any money to the bank.                    8       A. 4,500 before.
 9       Q. If someone says they'd prefer to be paid            9       Q. I didn't hear you.
10   in cash, then you pay them in cash?                       10       A. 4,500 in 2017.
11       A. Yeah.                                              11       Q. Do you get any bonuses based on the
12       Q. Are the staff that work at the hotel paid          12   performance of the hotel or for some other reason?
13   by the hour or by salary?                                 13       A. No.
14       A. Paid by the hour.                                  14       Q. So you collect a flat salary?
15       Q. And that was true in 2017 to 2019?                 15       A. Yes.
16       A. Yes.                                               16       Q. Is that right? And then what about your
17       Q. Is there a company that handles the                17   percentage ownership interest, do you get some
18   hotel's accounting?                                       18   additional amount based on the performance of the
19       A. I hired a CPA.                                     19   hotel?
20       Q. What's the name of the CPA?                        20       A. Based on perform -- no.
21       A. His name is -- 2017, 2019, Habib.                  21       Q. Well, does Mr. Sabharwal get anything for
22   H-A-B-I-B, Habib. But he died in 2021, I guess.           22   his stake in the -- in the business?
23       Q. So he would have been the CPA 2017, 2018?          23       A. Yes.
24       A. Yeah.                                              24       Q. Okay. So he does, but you do not, other
25       Q. 2019?                                              25   than your salary?

                                                                                                55 (Pages 214 - 217)
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